           Case 1:18-cr-00246-ADA-BAM Document 53 Filed 03/19/19 Page 1 of 2


 1
     VICTOR SHERMAN, ESQ. (SBN: 38483)
 2
     LAW OFFICES OF VICTOR SHERMAN
     11400 West Olympic Boulevard, Suite 1500
 3
     Los Angeles, California 90064
 4   Tel: (424) 371-5930
     Fax: (310) 392-9029
 5   Email: ssvictor@aol.com
 6   Attorney for Defendant
     RUBEN CORTEZ-ROCHA
 7

 8                        IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATE OF AMERICA,                  )        Case No. 1:18-cr-00246-DAD-BAM
12
                                               )
                     Plaintiff,                )
13             v.                              )
                                               )
14   RUBEN CORTEZ-ROCHA,                       )
                                               )
15                   Defendant.                )
                                               )
16

17             GOOD CAUSE APPEARING THEREFOR;
18             IT IS HEREBY ORDERED that Defendant, Ruben Cortez-Rocha’s pretrial
19   release conditions shall be modified as follows to allow him to apply for a job at an
20   employment agency in La Habra, California, and to be able to attend job
21
     interviews:
22
               1.    Defendant’s curfew shall be from 7:00 p.m. to 7:00 a.m.; and
23
               2.    Defendant shall contact his Pretrial Services Officer during the day to
24
               inform his Officer of his whereabouts.
25
     All other conditions of Defendant’s pretrial release shall remain in full force and
26
     effect.
27

28
     IT IS SO ORDERED.

                                                   1
              Case 1:18-cr-00246-ADA-BAM Document 53 Filed 03/19/19 Page 2 of 2


 1

 2   Dated:     March 19, 2019                         /s/   Sheila K. Oberto     .
 3
                                                 UNITED STATES MAGISTRATE JUDGE

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28



                                             2
